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02/20/20
Darryl Solomon Hope
13 28812-004
Federal Correctional Institution
2680 U .S. Highway 301 South                        Case No. 90-6108-Cr-Wi11iam
Jesup, Ga. 31599
                                                                  FILED BY       <>         D c.
Bernardo Lopez
Assistant Federal Public Defender
0ne East Broward Boulevard                                            FE8 2 i 2222
Suite 1100                                                              ANGELA E.NOBLE
Fort LauderdaleyFL 33301-1842                                         L'uEF
                                                                          1KU.S,DIsT,cT:
                                                                     s D.oFFI-A.-FT.LAUD.


       Ref: Government's Notfce of Filing the Bop 's Evaluation
                         Compassfonate Release Pursuant to 18 U.S.C. 63582(c)(t)(A)(i)
       Dear hr. Lopez:
       1 am in receipt of your letter and the Government's Notfce of Ffling the B0P's
Evaluation of my current & past medical & jobs condition. I wanted to further in
form you of the fact, in which Dr. Ed Marchan FCI Jesup Clinical Director has
conceded and willfully admâtted that B0P PRC and Region has confirm the fact that
1 have been denied, adequate care and medical treatment, since substaining this
injury in 2012, for most rhen 3 years of complalning of pain and sufferfna on behalf
of my injuries, 1 had a GENERAL SURGERY. in May of 2015 evaluated my injuries and
recommended the     surgery. Since 2015 I have not received the surgery on .my left
inguinal hernia, which has cause extensive deterioration and swelling to my groin
arean and well as my chronic back and 1ea and region area, my groin is the side of
an ORANGE, at times, which has cause nerve and tissue deterioration, and has left
me at times to dependent on other inmate to help assist me with walking long
distance, and :oaking my bed, going to the restroom as well as other chores, for 8
yeqrs I have been complainfng to lmedical about this issue, and ymedical staff has
taken a relax attitude in there approach to provide the recoameded surgery, which
has left me to deal with the day to day pain and suffering, and constant
deteriorations and swelling. 0n February 2, 2019 I reported to medical staff that
I had been urinating blood due to hemuturia, and that I woke up with blood in my
bed from leakish from my private part, afterward medlcal call me to the 1ab to take
test, I have not heard anything from medical since then, and 1'm still in constant
pain. I have also reported in the past tolmedical supervisor, that P.A. Aremu, has
wrftten false medfcal reports when addressing my medfcal issue, by writfng down
statement, concerning my medical issue, that I did not make in any stateaent. Some
of the medical terms he's.mentioning I cannot even pronounce.
       Mr. Lopez that medical synoposis/report written by Dr. Ed Marchan is in
consistent with whats taken place concerning my pain and suffering on a daily basis,
medical staff here is direspectful and has no regards for humane consumption,
especially inmates serving life sentences or long term sentence.
     Lastly , Mr.topez I have been assfgned to the barber shop, as an assfgn detail,
but has not worked cutting hair since March of 2019 after being resigned to another
detail. I was place back on the Barber shop detail but never have worked or perform
duties because of my injuries. Also neither have I received any pay while being
resign. This can be verified by BOP records and staffs here at FCI Jesup.

cc :                                           Sincerely ,
Judge Honorable Kathleen M . William
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